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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION



 DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,
                                                      Case No. 2:17-cv-70-JRG-RSP
           v.

 HTC AMERICA, INC.,

                         Defendant.




                HTC AMERICA’S UNOPPOSED MOTION TO TRANSFER VENUE

           Defendant HTC America, Inc. moves for an order transferring venue of this action to the

 United States District Court for the Western District of Washington in Seattle where venue is

 proper.

           The recent Supreme Court decision in TC Heartland LLC v. Kraft Foods Grp. Brands

 LLC, 2017 WL 2216934 (May 22, 2017) held that the patent venue statute, 28 U.S.C. § 1400(b),

 only permits suits against a corporation in a State in which the corporation is incorporated or has

 a regular and established place of business. HTC America, Inc. is a Washington corporation and

 has a regular and established place of business in Seattle, located in the Western District of

 Washington. HTC America, Inc. does not have a regular and established place of business in the

 Eastern District of Texas.

           Prior to the Supreme Court’s decision in TC Heartland, HTC America filed a Motion to

 Dismiss Plaintiff Display Technologies, LLC’s Complaint for Improper Venue Pursuant to Fed.

 R. Civ. P. 12(b)(3) (Dkt. No. 9). Thereafter, Plaintiff Display Technologies, LLC filed its



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 Response to HTC America, Inc.’s Motion to Dismiss Plaintiff Display Technologies, LLC’s

 Complaint for Improper Venue Pursuant to Fed. R. Civ. P. 12(b)(3) (Dkt. No. 14). No further

 briefing was submitted. Should the Court grant this motion to transfer venue, then the motion to

 dismiss for improper venue will be moot. Plaintiff Display Technologies does not oppose

 transfer of venue to the Western District of Washington.

        For these reasons, HTC America respectfully requests that this matter be transferred to

 the United States District Court for the Western District of Washington in Seattle.

 Dated: June 9, 2017                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 9, 2017 the within document was filed with the Clerk of the

 Court using CM/ECF which will send notification of such filing to the attorneys of record in this

 case.


                                              /s/ Brian Craft
                                              Brian Craft
